Name and address:
     Case 2:23-cv-01043-JWH-KES Document 27-1 Filed 03/14/23 Page 1 of 1 Page ID #:741
Adam R. Shartzer (DC Bar 994420)
Fish & Richardson P.C.
1000 Maine Ave., SW, Suite 1000
Washington, DC 20024




                                                    UNITED STATES DISTRICT COURT
                                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                                CASE NUMBER
ENTROPIC COMMUNICATIONS, LLC,
                                                                                                   2:23-cv-1043-JWH-KES
                                                                Plaintiff(s)
                                       v.
                                                                                    (PROPOSED) ORDER ON APPLICATION
DISH NETWORK CORPORATION, et al.
                                                                                   OF NON-RESIDENT ATTORNEY TO APPEAR
                                                            Defendant(s).              IN A SPECIFIC CASE PRO HAC VICE

The Court, having determined whether the required fee has been paid, and having reviewed the
Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
Shartzer, Adam R.                                  of Fish & Richardson P.C.
Applicant’s Name (Last Name, First Name & Middle Initial)                          1000 Maine Ave., SW, Suite 1000
202-783-5070                            202-783-2331                               Washington, DC 20024
Telephone Number                         Fax Number
shartzer@fr.com
                              E-Mail Address                                       Firm/Agency Name & Address

 for permission to appear and participate in this case on behalf of
DISH Network Corporation, DISH Network L.L.C., DISH Network Service L.L.C.,
and DISH Network California Service Corporation

Name(s) of Party(ies) Represented                                               Plaintiff(s)   Defendant(s)       Other:
and designating as Local Counsel
Marchese, Christopher S.                                                       of Fish & Richardson P.C.
Designee’s Name (Last Name, First Name & Middle Initial)                           633 West Fifth Street, 26th Floor
     170239             213.533.4240         858.678.5099                          Los Angeles, CA 90071
Designee’s Cal. Bar No.         Telephone Number           Fax Number
marchese@fr.com
                                E-Mail Address                                     Firm/Agency Name & Address

 HEREBY ORDERS THAT the Application be:
      GRANTED.
      DENIED:  for failure to pay the required fee.
                           for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                           for failure to complete Application:
                           pursuant to L.R. 83-2.1.3.2:       Applicant resides in California;     previous Applications listed indicate Applicant
                           is regularly employed or engaged in business, professional, or other similar activities in California.
                           pursuant to L.R. 83-2.1.3.4; Local Counsel:      is not member of Bar of this Court;  does not maintain office in District.
                           because

 IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid:                                              be refunded      not be refunded.

 Dated
                                                                                        U.S. District Judge/U.S. Magistrate Judge
G–64 ORDER (5/16)         (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE             Page 1 of 1
